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OPA 90 - Searching for the Line
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g Judge Alvin B. Rubin Conference on
Maritime Personal Injury Law

May 13, 2011

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Searching for the Li

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May 1, 2011

OPA 90

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OPA 90: SEARCHING FOR THE LINE™
David W. Robertson*

IL INTRODUCTION: THE KEY STATUTORY PROVISIONS

When the supertanker Exxon Valdez ran. aground and ripped itself open in Alaska’s
coastal waters in March, 1989, spilling an estimated eleven million gallons of crude oil,’
Congress had been trying for more than a decade to enact comprehensive marine oil spill
legislation.” The previously unimagined scale and scope of the Valdez tragedy jolted Congress
“into a more productive mode,’ and the Oil Pollution Act of 1990 (“OPA”) was enacted and
signed into law on August 18, 1990."

In their deliberations on the bills that eventually coalesced to become OPA, members of

Congress expressed deep dissatisfaction with virtually everything about this country’s lack of

* An early version of this paper was presented at an Oi! Spill Symposium at the Mississippi College of Law,
Jackson, Miss., on Feb. 18, 2011. A later version, tentatively titled The Oil Pollution Act's Provisions on Damages
for Economic Loss, is scheduled for publication in a forthcoming issue of the Mississippi College Law Review.

* W, Page Keeton Chair in Tort Law and University Distinguished Teaching Professor, University of Texas at
Austin. The sole purpose of mentioning my academic afiiliation is to identify me. The views expressed here are
mine, not those of my university or law school, The analysis presented here has a deep basis in decades of academic
study, reflection, and scholarship, but it also reflects work I have recently become engaged in as a consulting expert
for the Plaintiffs’ Steering Committee in Jn re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,
on April 20, 2010 (MDL No. 2179, E.D, La.) (Oil Spill Litigation”).

! See Exxon Shipping Co, v. Baker, 554 U.S. 471, 476-78 (2008).

2 John C.P. Goldberg, Liability for Economic Loss in Connection with the Deepwater Horizon Spill, Nov. 22, 2010,
at 7 (available at www.gulfcoastclaimsfacility.com.

2 See id. at 6. The Exxon Vaidez spill was “only the world’s fifty-seventh largest.” Raffi Khatchadourian, The Guif
War, THe New YORKER, Mar. i4, 2011, at 39. But in this country the Valdez spill had a unique political impact
because it was so “ecologically devastating” (id.), and it was the United States’ first huge one. Famous larger spills
include the thirty-seven million gallons of Kuwaiti crude oil released when the Torrey Canyon went aground off
_ Cornwall in 1967, id, and the estimated 120-million-gallon spill caused by the semi-submersible drilling rig Sedco
» 135-F in the Bay of Campeche, Mexico, in June 1979. See Ixtoc I Oi] Spill, WIKIPEDIA. See also Sedco, Inc. v.
Petroleos Mexicanos Mexican National Oil Co., 767 F.2d 1140, 1142 (Sth Cir, 1985) (referring to the Ixtoc I spill as
“the world’s largest”). Oil from the Ixtoc spill reached Texas beaches, but lhe national political impact of the
incident was negligible.

“: 4 PL 101-380, Aug. 18, 1990, 104 Stat, 484, Title J of the Act, captioned Oi! Pollution Liability and Compensation

" (§§ 1001-1020), is codified at 33 U.S.C. §§ 2701-2730, Because most practitioners and lower-court judges seem to
_ find the Title 33 counterparts more easily accessible than the provisions of the Act itself, this Article cites to OPA by
“+ using the Title 33 section numbers.
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preparedness for disasters like Valdez. One major theme in this outpouring of official erief and
anger was the view that the thousands upon thousands of individuals, communities, and
businesses whose lives and livelihoods were destroyed, disrupted, or damaged should have had
(but often were denied) adequate, fair, and speedy compensation.” Congress believed that such
relief should be guaranteed for the victims of all future spills.

OPA addresses these concerns by imposing strict (no-fault) liability on the party or
parties responsible for an oil spill.® This strict liability is limited (but only slightly) by a
narrowly crafted set of affirmative defenses.’ An oil polluter held strictly liable under OPA is
potentially protected by a cap on the damages owed,® but a claimant can break the cap by
showing that the responsible party’s gross negligence, willful misconduct, ot violation of a
Federal safety statuie or regulation “proximately caused” the spill.’ Victims who are not fully
compensated by 4 responsible party may claim against a federally-administered Oil Spill
Liability Trust Fund."”

OPA makes polluters (and, wnen polluters can’t or won't pay, the Fund) responsible for
removal costs and for a “wide range” of damages.'' The OPA provisions with which this paper

is centrally concerned are those specifying the types of damages available. The immediately

5 See infra note 56.

§ 33 U.S.C. § 2702.

733 U.S.C. § 2703.

833 U.S.C. § 2704(a).

933 U.S.C. § 2704(c).

9 33 U.S.C. $§ 2701.1), 2712{a)(4).

1! g Rap, No, 101-94, at 12 (1990).
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relevant statutory provisions are set forth just below. The central focus of this Article is the
meaning of the language in bold italics (supplied).

33 U.S.C. § 2702. Elements of liability

(a) In general

Notwithstanding any other provision or rule of law, and subject to the provisions of this
Act, each responsible party for a vessel or a facility from which oil is discharged, or
which poses the substantial threat of a discharge of oil, into or upon the navigable waters
or adjoining shorelines or the exclusive economic zone is liable for the removal costs and
damages specified in subsection (b) of this section that result from such incident.

(b) Covered removal costs and damages

(1) Removal costs

(2) Damages

The damages referred to in subsection (a) are the following:

(A) Natural resources

Damages for injury to, destruction of, loss of, or loss of use of, natural resources,
including the reasonable costs of assessing the damage, which shall be recoverable by a
United States trustee, a State trustee, and Indian tribe trustee, or a foreign trustee.

(B) Real or personal property

Damages for injury to, or economic losses resulting from destruction of, real or personal
property, which shall be recoverable by a claimant who owns or leases that property.

- (C) Subsistence use

Damages for loss of subsistence use of natural resources, which shall be recoverable by
any claimant who so uses natural resources which have been injured, destroyed, or lost,
without regard to the ownership or management of the resources.

{(D) Revenues

Damages equal to the net loss of taxes, royalties, rents, fees, or net profit shares due to
_ the injury, destruction, or loss of real property, personal property, or natural resources,

which shall be recoverable by the Government of the United States, or a political
_ subdivision thereof.

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(E) Profits and earning capacity

Damages equal to the loss of profits or impairment of earning capacity due to the injury,
destruction, or loss of real property, personal property, or natural resources, which
shall be recoverable by any claimant.

(F) Public services

Damages for net costs of providing increased or additional public services during or after
removal activities, including protection from fire, safety, or health hazards, caused by a
discharge of oil, which shall be recoverable by a State, or a political subdivision of a

State.
ok Ook

Il. THE MACONDO (DEEPWATER HORIZON) OIL SPILL

Disagreement about the meaning of the above-emphasized language of Sections 2702(a)
and 2702(b)(2)(E) is presently at the heart of the litigation’? stemming from the monstrous
Macondo” oil well spill into the Gulf of Mexico on April 20, 2010, when the Deepwater
Horizon drilling rig exploded, burned, and capsized, killing eleven workers, injuring many other
workers, and causing oil and gas to begin spewing into the Gulf from the wellhead almost a mile
(5000 feet) below the ocean surface. 4 The flow of oil into the Gulf was not staunched until July
15, 2010, By then an estimated 200 million gallons of oil (perhaps twenty times as much as the
Valdez spill) had entered the Gulf.

The Macondo well is located forty-three miles off the coast of Louisiana and about
ninety-eight miles from the coasts of Mississippi and Alabama. Hundreds of thousands of

individuals and businesses in those states, as well as in Florida, Texas, and other states, have

" See supra note *,

'3 “Macondo” was the name that one of the operating companies, presumably BP, gave to the exploratory well, This
was aiso the name of a fictional town in Gabriel Garcia Marquez’s novel ONE HUNDRED YEARS OF SOLITUDE. In
the novel, the village of Macondo, grown into a city, is eventually wiped off the map by a gigantic windstorm.

'§ The information in this section of this Article is taken from the pleadings on file in the Oil Spill Litigation, supra
note *,
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sustained economic harm and are seeking recompense. Some of these victims—those who
owned or leased real or personal property affected by the spill-_can invoke subsection B of
- Section 2702(b)(2). For most of them, though, the crucial provision is Section 2702(b)(2)(E).”
IE. THE PRECISE QUESTION TREATED IN THIS ARTICLE

The central question addressed by this Article is the correct interpretation of 33 U.S.C.
§ 2702(b)(2)(E) (quoted above in Part I). For analyzing this question, the proper starting place is
the combined language of subsections 2702(a) and (b\(2)(E). Paraphrased and combined, these
provisions look like this:

Subsection (a): A party responsible for an oil spill or a substantial threat of an oil spill

owes certain categories of damages that “result from” the spi!l or threat.

Subsection (b)\(2)E); Among those categories of recoverable damages are “loss of
profits or impairment of earning capacity due to the injury, destruction, or loss of real
property, personal property, or natural resources.”
For ease of presentation, it will sometimes be useful to refer to the “loss of profits” and
“impairment of earning capacity” covered by subsection (b)(2)(F) as “pure economic loss.”"° In

simplified form, the question addressed in this Article is, what must a pure economic loss victim

'5 To recover damages under subsection (B) of Section 2702(b)(2), an owner or lessor must trace its damages to
“injury to” or “destruction of” its own (leased or owned) property. Under subsection (E), that same claimant (like
claimants who did not own or Jease any involved property) can recover on showing that the claimant sustained lost
profits or impaired earning capacity “due to the injury, destruction or loss” of natural resources or of anyone’s
property, See In re Taira Lynn Marine Lid., 444 F.3d 371, 382 (Sth Cir 2006) (indicating that property owners
could invoke both subsections (B) and (E)); In re Settoon Towing LLC, 2009 WL 4730969 at * 3-4 (E.D, La. Dec. 4,
2009) holding that when a spill temporarily prevented the owner of an undamaged offshore platform from using it,
the owner had a cause of action under subsection (E)); Secko Energy, Inc. v. M/V Margaret Chouest, 820 F. Supp.
1008, 1015 (E.D. La. 1993) (same).

'6 Economic losses caused by physical damage to the plaintiff's real or personal property are routinely regarded as
recoverable and nonproblematic. (Such damages are addressed by OPA in 33 US.C. § 2702(b\(2\(B).) The term
“sure economic loss” refers to economic losses that do not stem from physical injury to the plaintiff's person or
- tangible property, DAVID W. ROBERTSON ET AL, CASES AND MATERIALS ON TORTS 253 (3d ed. 2004).
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show in order to establish that his damages “result{ed] from” a spill (or threat) and were “due to
the injury, destruction, or loss” of property or natural resources?

IV. THE GULF COAST CLAIMS FACILITY, THE GOLDBERG
PAPER, AND THE COMMERCIAL-USE-RIGHT THEORY

The meaning of 33 U.S.C. § 2702(b)(2)(E) was recently addressed at some length by
Harvard Law School Professor John C. P. Goldberg.’ The circumstances leading to the
production of Professor Goldberg’s paper are sketched below. ®

The operator of the Macondo site was BP Exploration and Production, Inc., a subsidiary
of BP, ple. The Deepwater Horizon was owned by Transocean, Ltd. BP and Transocean have
been designated by the Coast Guard as “responsible patties” under OPA.” As a responsible
party, BP was required by 33 U.S.C. § 2714(b) to set up and advertise a claims procedure.” In

recognition of that obligation—and by some accounts in response to the blandishments of

President Obama*'—BP created the Gulf Coast Claims Facility (GCCF) and put a famous and

well-credentialed attorney/mediator, Kenneth Feinberg, in charge of it.

~ ' See Goldberg, supra note 2,

'? Much of the information in the two paragraphs just below is taken from the pleadings on file in the Oil Spill
Litigation, supra note *.

"33 USC. § 2701(32) defines “responsible party” as the vessel or facility from which the spill or threatened spill
emanated, Section 2714{a) requires the President (acting through the Coast Guard), upon learning of a spill or
threatened spill, to designate and “immediately notify” the party or parties deemed responsible. ,

* 33 USC. § 2714(b)(1) provides that unless the designated responsible party denies the designation, the
responsible party “shall advertise the designation and the procedures by which claims may be presented...” Section
2714(b)(2) provides that the advertisement “shall state that a claimant may present.a claim for interim, short-term
damages representing less than the full amount of damages to which the claimant ultimately may be entitled and that
payment of such a claim shall not preclude recovery for damages not reflected in the paid or settled partial claim.”

al Sec, e.g., Goldberg, supra note 2, at 4.

” The Goldberg paper seems to go out of its way to emphasize that setting up the fund was voluntary on BP’s part
and that the GCCF and Mr. Feinberg are neutral and independent of BP. See id. at 4-6. None of that appears to be
true, OPA required BP to sel up a settlement procedure and to pay interim claims without insisting on full releases.
See swpra note 20. And the federal judge in charge of the Oil Spill Litigation has ordered the GCCF and Feinberg to
cease and desist from claiming independence and neutrality, See infra note 24.
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The purpose of the GCCF is to settle claims for economic and other losses made against
BP. The Facility initially presented itself to the public as “neutral,””? but the federal district
judge in charge of the Oil Spill Litigation subsequently issued an order directing BP, Feinberg,
and the GCCF to “[rJefrain from referring to the GCCF,; Ken Feinberg, or [Feinberg’s law firm]
as ‘neutral’ or completely ‘independent’ from BP.” The court’s order further stated: “It should
be clearly disclosed in all communications, whether written or oral, that said parties are acting
for and on behalf of BP in fulfilling its statutory obligations as the ‘responsible party’ under the
Oil Pollution Act of 1990.”7°

Mr. Feinberg has a $20 billion settlement fund to work with. This fund is “intended to
make whole both private enterprises (for lost earnings) and the states and the federal government
(for cleanup costs).”"° The GCCF is also trying to use the fund to settle personal injury and
death claims.”’ Given the tragic physical and emotional consequences of the Deepwater Horizon
explosion and the apparent magnitude of the Macondo spill’s physical, emotional, and economic
effects, $20 billion is probably not enough money, According to the New York Times,
Feinberg—in quest of legal principles that might justify the exclusion of economic-loss
claimants from areas of the country remote from the spill and its physical effects-—turned to

Professor Goldberg for assistance. Here is the Times account:

3 See, e.g., Gulf Coast Claims Facility Protocol for Interim and Final Claims, November 22, 2010, at p. 2 (stating
that “[tJhe GCCF is administered by Kenneth R. Feinberg, (‘the Claims Administrator’), a neutral fund
administrator”) (hitp://www.gulfcoasiclaimsfacility.cony/proto_4, p. 2).

4 See Oil Spill Litigation, supra note *, Order and Reasons, Feb. 2, 2011, pp. 13-14 (available at
hitp://www.laed.usccourts.gov/),

*® Id. at 14.
6 David Segal, Should BP's Money Go Where Oil Didn’t?, N-Y. TIMES, Oct. 23, 2010, at __.

71 See Protocol, supra note 23, at p. 1.

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Working outside of the court system, Mr. Feinberg isn’t necessarily constrained
by [OPA], or state or federal tort law. But to figure out what, if anything, these claimants
should be paid, he needs a sense of what would become of them if they slogged through
the dockets.

So Mr. Feinberg has quietly hired one of the country’s foremost scholars on
torts—he declined to provide a name [we now know it is Professor Goldberg]—to write a
memorandum about the validity and value of [economic loss] claims.

The memo is due soon, and Mr. Feinberg has no idea what it will say. But it
won't serve as a blueprint, he says. It will serve as leverage. If the memo states, for
instance, that certain [economic loss] claims are stinkers, Mr. Feinberg could say to
claimants, “You'll get nothing in court, but I'll give you 20 cents or 30 cents on the
dollar.”

About a month after the Times article appeared, Professor Goldberg transmitted
his report to Mr. Feinberg, who made it publicly available.” The Goldberg report does indeed
say that some economic loss claims—in fact, a great many of them—are stinkers. In a succinct,
clear Executive Summary at the beginning of the paper, Professor Goldberg writes (emphasis
supplied):

Under OPA, a person may obtain compensation for economic loss from a party
responsible for a spill if she can prove that her loss is “due to” harm to property or
resources that “result[s] from” the spill, irrespective of whether she owns that property or
those resources. This statutory language is best understood to allow recovery only by
those economic loss claimants who can preve that they have suffered economic loss
because a spill has damaged, destroyed, or otherwise rendered physically unavailable
io them property or resources that they have a right to put to commercial use, Thus, if
a spill were to deprive commercial fishermen of expected profits by killing fish they
ordinarily would catch and sell, or by causing authorities to bar the fishermen from
accessing those fish for a period of time, the fishermen would be entitled to recover. By
contrast, operators of beach resorts in areas physically unaffected by a spill, but that
nonetheless suffer economic loss because of a general downturn in tourism resulting from
the spill, are among those who are not entitled to recovery under OPA.”°

28 New York Times, supra noie 26, at.
® See supra note 2.

© Goldberg, supra note 2, at 3.
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It will be useful to call the above-emphasized proposal the commercial use-right requirement.

In the body of his paper, Goldberg demonstrates that the commercial use-right
requirement would be an extraordinarily potent. exclusionary tool. Part VI below borrows
elements of that demonstration as a way of emphasizing the narrow coverage Section
2702(b\(2(E) would have in Professor Goldberg’s world, and to demonstrate that Congress
probably had broader aims for the provision.

~-V. A MIDDLE-OF-THE-ROAD INTERPRETATION
OF OPA’S ECONOMIC LOSS PROVISIONS”

At the end of the day, the intended meaning of 33 U.S.C. § 2702(b)(2)(E) is tolerably

apparent.” But it may not be apparent at first blush. An informed reading of the statute entails

some understanding of the jurisprudential background and some grasp of the legislative history.

3 See infra note 54 for argument that the subtitle’s “mid-road” characterization is justified.

2 This Article’s claim that the relevant OPA provisions express a clear meaning entails an underlying assumption
that the statute was carefully drafted. This assumption rests on generally comfortable ground—Congress worked
intensively on the statute for many months, the legislative history is copious, and nobody in Congress can have
doubted the critical importance of the legislation.

But the assumption of clear draftsmanship is not entirely free from doubt, Two irritating anomalies are
apparent in some of the statute’s key language. First, Section 2701(5}-defining the term damages as used
throughout the statute—states that the term “means damages specified in section 2702(b) ... and includes the cost of
assessing these damages.” Section 2702(b)(2)(A)—providing for the recovery by governmental trustees of damages
for injury to natural resources—repeats that these damages “includ[e] the reasonable costs of assessing the damage.”
But the ensuing subsections of § 2702(b)(2)}—-subsections (B) through (F}—use the term damages without saying
anything about damage-assessment costs. So, is the subsection (A) language about assessment costs a redundancy?
Or does that language imp!y that no assessment costs are allowed by the ensuing subsections (B) through (F)? The
correct answer is probably redundancy, bui Congress should have tried harder to avoid creating such a puzzle.

Second, subsection (A) of Section 2702(b)(2) provides for recovery by governmental trustees of damages
for “injury to, destruction of, loss of, or loss of use of, natural resources” (emphasts supplied), whereas subsection
(D) (providing for recovery by governmental entities of damages for lost revenues and taxes) and subsection (E) (the
core economic-loss provision that is the central focus of this Ariicie) use a formulation—“injury, destruction, or loss
of real property, personal property, or natural resources”—that omits the loss-of-use phrase. Does the inclusion of
“logs of use” in subsection (A) and the omission of “loss of use” in subsections (D) and (E) mean that a loss of use
of natural resources is not compensable under (D) and (B)? It certainly could mean that, See Russello v. United
States, 464 U.S. 16, 23 (1983) (“[W]here Congress includes particular language in one section of a statute but omits
it in another section of the same Act, it is generally presumed that Congress acts intentionally and purposely in the
disparate inclusion or exclusion.”) (citation and internal quotation marks omitted).

Applying the Russello canon to the disparity between subsection (A) (on the one hand) and (D) and (E) (on
the other) would yield strange results, Section 2702{a) imposes liability for the “damages specified in subsection (b)
... that result from ...the substantial threat of a discharge of oil,” yet if we treat the omission of “loss of use” from

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A. Deep Background: Admiralty Jurisdiction and Federal Maritime Law

Article HL, Section 2 of the Constitution brings “all cases of admiralty and maritime i
jurisdiction” under the authority of the federal courts and Congress, and it subjects these cases to 4
federal-law governance.’ In general, the following simplified statement of the matter holds
true: Admiralty cases are governed by federal maritime law.* The Exxon Valdez litigation was 4
an admiralty (and thus federal maritime) case, and so is the Macondo Oil Spill Litigation.

Federal maritime law includes two tortfeasor-friendly doctrines that can provide great i

comfort to a marine oil-pollution defendant. The first is the right of a shipowner to limit its |

liability to the value of the vessel (measured after the accident) if the shipowner can show that
the damages sought by the accident victims came about “without the privity ot knowledge” of 3

the shipowner.”° The second—variously referred to as the Robins Dry Dock rule or the Testbank 4

subsections (b)(2)(D) and (E) as purposive, those subsections might often, perhaps generally, deny recovery in
threatened discharge cases. Moreover, the Russe/o canon would also raise difficulties with the application of
subsection (C) of section 2702(b)(2) in threat cases. Subsection (C) allows the recovery of “damages for loss of
subsistence use of natural resources” but seemingly only when “natural resources ... have been injured, destroyed, or
lost,” Here too, reading subsection (A) to cover a broader range of situations than the ensuing subsection produces a
potential anomaly in threat cases.

Professor Goldberg argues persuasively that the subsection (E) term “loss” should be read to include loss of
use. See Goldberg, supra note 2, at 19-20 n, 40 (arguing that fishermen who cannot fish because of a threat-caused
embargo have suffered a loss of natural resources within the meaning of subsection (E)). 1 agree with Goldberg on
this point—and | think we need to accept the same argument on behalf of subsistence fishermen whe invoke
subsection (C)—but we have to realize that here again (as with the damages-assessment puzzle) reaching the desired
resolution requires treating a portion of Section 2702(b)(2)(A) as redundant.

3 See generally DAVID W. ROBERTSON, ADMIRALTY AND FEDERALISM (1970).

4 Federal maritime law emanates from the federal courts and from Congress. See Panama R. Co. v. Johnson, 254
U.S, 375, 386 (1924) (explaining that the constitutional grant of “admiralty and maritime jurisdiction” to the federal
judicial power enables beth the federal courts and Congress to provide admiralty and maritime governance and
stating that “there is no room for doubt that the power of Congress extends to the entire subject and permits of the
exercise of a wide discretion.”) Court-made federal maritime law is often called “general maritime law” (id); it 18
“federal common law.” Exxon Shipping Co. v. Baker, 554 U.S. 471, 483 (2008). In modern times, congressional
authority over the admiralty and maritime field has arguably become preeminent. See Miles v, Apex Marine Carp;
498 U.S. 19, 36 (1990) (stating that “[mJaritime tort law is now dominated by federal statute”).

3 46 U.S.C, § 30505(b). -

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rule*°—often prevents economic-loss victims from recovering damages unless they can show
that they owned or leased property that was physically damaged in the accident that caused their
economic losses.*’

For cases falling within its scope, OPA nullifies both the shipowners’ limited-liability
doctrine and the Robins/Testbank doctrine. 33 U.S.C. § 2702(a) states that the strict liability it
imposes on oil polluters is “[nJotwithstanding any other provision of law,” and the August 1,
1990, Conference Report explaining the bill that was enacted into law and signed by President
George H. W. Bush on August 18 states (emphasis supplied):

Liability under this Act is established notwithstanding any other provision or rule of law.

This means that the liability provisions of this Act would govern compensation for

removal costs and damages notwithstanding any limitations under existing statutes such

as the act of March 3, 1851 (46 U.S.C. 183),°8 or under existing requirements that

physical. damage to the proprietary interest of the claimant be shown. 39
Moreover, Section 2702(b)\(2)(F) provides that economic loss damages “shall be recoverable by
any claimant,” and the Conference Report explains (emphasis supplied):

Subsection (b)(2)(E) provides that any claimant may recover for loss of profits or

impairment of earning capacity resulting from injury to property or natural resources.

The claimant need not be the owner of the damaged property or resources to recover for
lost profits or income.”

6 See Louisiana ex rel. Guste v. M/V Testbank, 752 F.2d 1019, 1020-21 (Sth Cir, 1985) (en banc) (citing Robins
Dry Dock v, Flint, 275 U.S, 303 (1927), for the proposition that “physical damage to a proprietary interest [is] 4
prerequisite to recovery for economic loss in cases of unintentional maritime tort”),

*! Testhank could be read to establish a more defendant-friendly rule that would require an economic-loss plaintiff fo
show that the damages sought were caused by (rather than merely being accompanied by) physical damage to the
plaintiff's person or property. Subsequent Fifth Circuit decisions indicate that the less demanding (accompanied by)
requirement stated in the text is the correct reading. See Jn re Taira Lynn Marine Ltd., 444 F.3d 371, 376 (Sth Cir.
2006) (stating that Testbank barred claims “for economic losses unaccompanied by damage to a proprietary
interest”); Lloyd’s Leasing Lid. v. Conoco, 868 F.2d 1447, 1450-51 (Sth Cir, 1989) (separate opinion by Judge
Higginbotham, the author of the en banc opinion in Testbank, eschewing the causal-connection-requirement
interpretation of Testbank). Judge Higginbotham’s opinion in Lioyd’s Leasing is analyzed in David W. Robertson,
An American Perspective on Negligence Law, in MARKESINIS AND DEAKIN’S TORT LAW 283, 300-02 (6th ed, 2008).

8 This is the Shipowners’ Limited Liability Act, presently codified at 46 U.S.C. § 30505.
% HR. Conf. Rep, 101-653, 101st Cong., 2d Sess, 1990, 1990 U.S.C.C.A.N. 779, 781, 1990 WL 132747 at * 3.

© rg 1990 WL 132747 at * 4.

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rule*°—often prevents economic-loss victims from recovering damages unless they can show
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*° OLR. Conf. Rep. 101-653, 101st Cong., 2d Sess. 1990, 1990 U.S.C.C.A.N. 779, 781, 1990 WL 132747 at * 3.

I, 1990 WL 132747 at * 4.

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This much really seems undebatable: Congress wanted to make sure that marine oil polluters
could not use these two major maritime-law defensive doctrines as a shield against OPA
liability.“!

B. The Facially Apparent Meaning of Section 2702(b)(2)(E): A Factual Causation
Interpretation

As we saw in Part III above, 33 U.S.C. §§ 2702(a) and 2702(b)(2(E) have to be read

together, Taken together, they say that an economic-loss victim who invokes subsection

(b)(2)(E) must show that his damages “result[ed] from” the spill and were “due to” the injury,

destruction, or loss of tangible? property or natural resources.

4 This footnote belabors the obvious—that the Robins/Testbank rule is expunged from OPA. cases. It does so
because the major thrust of Professor Goldberg’s proposed interpretation of 33 U.S.C. §§ 2702(a) and (b\(2)(E}—his
commercial use-right requirement, treated supra at noie 30 and infra in Parts VI-C and VIL—is to preserve as much
of the Robins/Testbank jurisprudence as possible.

Cases holding or stating that OPA nullifies the Robins/Testbank. rule include in re Taira Lynn Marine
Limited Number 5, LLC, 444 F.3d 371, 382 (Sth Cir, 2006); Jn re Exxon Valdez, 270 F.3d 1215, 1252-53 (9th Cir,
2001}; Ballard Shipping Co. v. Beach Shellfish, 32 F.3d 623, 631 (ist Cir. 1994); Dunham-Price Group, LLC, v.
Citgo Petroleum Corp., 2010 WL 1285446 at * 2 (W.D. La. March 31, 2010); In re Settoon Towing LLC, 2009 WL
4730969 at * 4 (B.D. La. Dec. 4, 2009); In re Nautilus Motor Tanker Co., 900 F. Supp. 697, 702 (D. N.J. 1995);
Sekco Energy, Inc. v. M/V Margaret Chouest, 820 F. Supp. 1008, 1014-15 (B.D. La. 1993); Kodiak island Borough
y. Exxon Corp., 991 P.2d 757, 768-69 (Alaska 1999). In FGDL, LLC v. M/V Lorelay, 193 Fed. Appx. 853, 2006 WL
2351835 at * 1 (1th Cir, 2006), an OPA defendant conceded that it owed damages to a claimant who could not
have qualified for recovery under the Robins/Testbank regime.

The commentators agree that OPA ousts the Robins/Testbank rule. See Steven R. Swanson, OPA 90 + 10.
The Oil Pollution Act of 1990 After Ten Years, 32 J. Mar. L. & Com. 135, 150-52 (2001); Lawrence j, Kiern,

_ Liability, Compensation, and F inancial Responsibility Under the Oil Pollution Act of 1990: A Review of the First

Decade, 24 Tun. Mar. LJ, 481, 531-32 (2000); Keith B. LeTourneau & Wesley T. Welmaker, The Oil Pollution Act
of 1990: Federal Judicial Interpretation Through the End of the Millenntum, \2 U.S.F, Mar. LJ, 147, 200-02
(2000); Francis J. Gonynor, Six Years Before the Mast: The Evolution of the Oil Pollution Act of 1990, 9 USF,
Mar. LJ. 105, 126-27 (1996); Cynthia M. Wilkinson, L. Pittman, & Rebecca F. Dye, Slick Work: An Analysis of
the Oil Pollution Act of 1990, 12 J, ENERGY, Nat. Resources & ENVTL. L. 181, 264 (1992), Gregg L. McMurdy,
Comment, 41 Overview of OPA 1990 and its Relationship to Other Laws, 5 U.S.F. Mar. LJ, 423, 427-30 (1993);
Cameron H, Totien, Note, Recovery for Economic Loss Under Robins Dry Dock and the Oil Pollution Act of 1999,
18 TuL. Mar. LJ. 167, 171-73 (1993); Daniel Kopec & H, Philip Peterson, Note, Crude Legislation: Liability and
Compensation Under the Oil Pollution Act of 1990, 23 RUTGERS L.J.497, 623-24 (1992).

® Sekco, supra note 41, suggests that “[fJuture earnings derived from drilling on the Outer Continental Shelf [might]

constitute property” within the meaning of subsection (E). 820 F. Supp. at 1015. However, it ig hard lo imagine
administering the statute without the tangibility criterion.

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The_statutory_terms “result_from”_(subsection 2702(a))—and_“‘due_to” (subsection

2702(b)(2)(E)) are not specialized legal terms; they are English-language synonyms for the term
“caused by.”“? Professor Goldberg’s entire proposal rests on an asserted major difference
between the meanings of the OPA terms “result from” and “due to.” But the asserted difference
is imaginary. Indeed, the August 1, 1990. Conference Report explaining the bill that was
enacted into law*** summarizes Section 2702(b)(2)(E}—Goldberg’s pivotal “due to” provision—
as follows (emphasis supplied): “Subsection (b)(2)(E) provides that any claimant may recover
for loss of profits or impairment of earning capacity resulting from [the statutory term is “due
to”] injury to property or natural resources.” The significance of the Conference Report’s
phrasing of subsection (E) is huge: The Report expresses subsection (E)’s “due to” requirement

by using the term “resulting from.” Here we have an authoritative indication by Congress that

the Section 2702(b)(2\(E) term “due to” has the same meaning as the Section 2702(a) term
“result from.” This by itself substantially refutes the Goldberg proposal.
Plainly cnough, in the statute as in the English language, “result from” and “due to” are

synonyms for “caused by In the English language, the term “caused by” normally refers to

4 See AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE 403 (1981) (defining “due to” as “caused
by”); 510 (in a list of synonyms for “follow,” stating that “reswit refers to an event that is discernibly caused by a
prior event or events”); 1109 (defining the verb “result” as “to occur or exist as a consequence of a particular cause,”

and referring to the list of synonyms for “follow”); id. (defining “resultant as “issuing or following as a consequence
~ or result”). See also Gross v. FBL Financial Services, Inc., 129 $.Ct. 2343, 2350 (2009) (determining the meaning
of the statutory term “because of” by referring to an ordinary dictionary and to considerations of “ordinary meaning”
~ and “common talk”).

~ © See supra note 39.

“ 33 U.S.C. § 2702 uses the causation-relaied terms “result from” (subsection a), “resulting from” (subsection
b(2)(B), “due to” (subsections b(2)(Dy and b(2)(E), and “caused by” (subsection b(2)(F)). I can find nothing in the
statute’s text, jurisprudential background, or legislative history that even hints that different meanings were
intended. Arguably Congress would have done better to strive for uniform use of thé everyday term “caused by” in
lieu of the synonyms. Cf. supra note 32 (questioning other aspects of the draftsmanship that went into OPA),

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factual causation 45 not to what Professor Goldberg calls “proximate cause.” On their face,
oe none and 2702(b)(2)(E) in combination require an economic-loss
establish that the defendant’s spill was 4 factual cause of injury, destruction, oF loss of me e
coperty 01 natural resources that in turn was a factual cause of the claimant’s damages—nothing
and nothing less. Because the prevailing, default test for factual causation in Anglo-
- wan tort law is the but-for test,*” we can be faixly precise about the evident meaning of
«aot and 4702(b)(2(E) for an economic-loss claimant: The claimant is required to
. shat if the spill had not brought about the injury, destruction, or loss of nee mes or
natural resources, the damages complained of probably would not have been sustained.
ION
w,covrnastIN HEAT Gon COL aHERG
Fe VERSE OF POTENTIAL PURE ECONOMIC LOSS CLAI

For illustrating the possible ranges of meaning of the “due to” language in
2702(b)(2)(E). Professor Goldbere has provided an admirable tool. Positing a large Gulf o
Mexico oil spill—something on the order of the BP-Macondo spill, a spill with widespread
effects including a great deal of physical damage to natural resources and to property—Goldberg

“Univer re Economic
listicall imagined sixteen-item sketch of a “Universe of Potential Pu
Qnty
presents a reausile

i e noun “cause” to
CTIONARY OF THB ENGLISH LANGUAGE 214 coe) (defining th ae)
° ” “cause” to mean “Mm .
oe A Me TAGE oct result, or consequence and the verb “cause
mean “that which produces rect,

4 Goldberg, supra note 2, at 20 &n. 41.

ad emt. b (2010),
2 TORTS: LIABILITY FOR PHYSICAL AND EMOTIONAL HARM § e mon « ).
47 Gee RESTATEMENT (THIRD) OF / s wvices, {rc 129 S.Ct. 2343, 2350 e200") (s ans ee matory
1 Ay ey i é : 2 7” . 5 , ssaty ogica con _
See also Gross v. PBL Financia * elationship and thus @ neces’ : ie ston
phrase ‘based on’ indicates 4 but lo es Soe st i an eon (citation and oo i ation tat
rase * * has the same mean!
ee ion inqui i ing of the statutory term
: ‘to the factual causation inquiry by the uncertain Ee Otte 1 At
48 Some imprecision 1s brought into ae ve saw supra on a professor Goldberg makes a pl
» whic define.
“Joss,” which OPA does not

t 9702 E | 2 c v1: . 5 , | 19-2 nh. 0.
ee » can so. etimes mean loss of use See Goldberg, supra note 2 at 0 4

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a 49
Loss Claimants.”

With two modifications, this sketch is reproduced below. (The
modifications are adding the numbers and inserting hypothetical claimant # 2.)

Note that the sketch moves from cases that seem intuitively to entail direct and immediate

causation in the direction of (intuitively) increasingly remote causation. Note also that we are

assuming that all of these claimants can prove what they allege. As Professor Goldberg astutely
observes, “there is no particular reason to think that claimants more closely connected to the spill
in time and space will, as a class, be in a better position to offer [sufficient evidence to support

their allegations respecting damages and factual causation), or that claimants [further] removed

from the spill will be less well-positioned to offer such evidence.”*°

Professor Goldberg’s “Universe of Potential Pure Economic Loss Claimants,” augmented
by the addition of claimant # 2, is the following:

1. C is a commercial fisherman who relies for his business on fisheries in the Gulf of
Mexico. C claims that oil from a spill for which Oil Co. is responsible has polluted the
waters in which he fishes, and that he has been and will be unable to fish for a period of
time, resulting in lost profits.

2. CH is a man who makes his living supplying bait, tackle, other necessary supplies,
maintenance, and repairs to the vessels of C and other fishermen like C. (In older
maritime terminology, peopie like CAH were sometimes referred to as “ships”.
chandlers.””') CH claims that when. the Oil Co. spill prevented C and the others from
fishing, CH’s business dried up.

3. H owns and operates a beachfront hotel in the Gulf area. Oil from the Oil Co. spill has
not reached the beachfront that is owned by /7 and reserved for use by guests at /7’s hotel.
However, oil has been found in the immediate vicinity of H’s hotel, including in waters
that A’s guests frequently use, and neighboring beaches that /7’s guests routinely visit. H
claims to have suffered a loss of business because tourists, in light of the effects of the
spill on the immediate area in which his hotel is situated, have decided to vacation
elsewhere.

“9 Id at 12-14.
0 id. at 15.

} See. e.g., Puget Sound Stevedoring Co. v. Tax Commission, 302 U.S. 90, 94 (1937) (referring to the furnisher of
loading/unloading services to a vessel a8 “similar ... 10... a ship’s chandler”).

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4. EF is an employee at H’s hotel. Because the hotel has lost business, its managers have
reduced staff hours by 25%, as a result of which E has suffered and will suffer a 25%
reduction in his wages for a certain period.

5. B owns a barge that is used to haul equipment and supplies up and down a small
navigable river that runs to the Gulf. Oil from the spill reaches the river, threatening
migratory birds that live there. Authorities close the river to boat traffic for three weeks
io permit clean-up. B is unable to operate his barge during this time and seeks recovery
of profits he would have made.

6. R operates a dockside restaurant located in a Gulf seaport. Its regular customers are
dockworkers, fishermen, and others whose jobs are connected with maritime commerce.
R claims that, because of the spill, the restaurant has lost profits because many of the
restaurant’s regular customers have not been frequenting it.

7. Ais areal estate agent whose listings are made up primarily of beachfront properties in
an area of the Gulf that has been contaminated by the spill. She claims that the market
for property sales and rentals has collapsed because of the spill, depriving ner of
commissions she otherwise would have made.

8. Wis a woodworker who owns a smali furniture store located three miles inland in a
town that relies on beach tourism as a major source of revenue. MW claims that, because
some of the town’s beaches have been polluted by the spill, orders for his furniture are
down and that he has lost profits as a result.

9. O owns a beachfront inn located on the Gulf. No oil from the spill has come within
100 miles of the waters or the stretch of coastline on which the inn sits, and, at that
location, the spill has had no other discernible adverse physical effects (such as noxious
odors). However, given prevailing currents and winds, government officials and
scientists have concluded that oil might reach those waters and beaches within a month.
O claims to have suffered cancelled reservations and lost profits because of the credible
threat of oil pollution to the water and beaches adjacent to the inn.

10. / owns and operates a fireworks store that ig situated along the main interstate
highway that leads to a set of Gulf beaches, 150 miles north of those beaches. F relies on
tourists traveling to and from the beaches for much of his business. £ claims to have lost
profits because of reduced tourist traffic resulting from the Oil Co. spill.

11. T runs a tour boat that takes passengers along scenic Gulf shoreline. No oil from the
spill has come, or threatened to come, within 400 miles of the area in which 7’s tours
take place. J claims that, because of popular misimpressions about the scope of the spill,
the spill has depressed tourism in the entire Gulf region, in turn causing T to lose business
and profits.

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12. D owns an amusement park ina land-locked portion of central Florida. Many of D’s
patrons are families that combine a trip to D’s park with a beach vacation on Florida’s
Atlantic Coast, which was never at risk of suffering pollution because of the spill. D
claims that consumer unease about traveling to Florida because of the spill has caused D
to suffer lost profits.

13. N owns and operates a resort in Nevada. Each year for the past decade, an association
of Gulf-area fishermen has held its annual meeting at N’s facility. \V claims that the
spill’s economic effects have caused the association to cancel its plans to hold their
convention at N’s facility, in turn causing N lost profits.

14, M, a company incorporated and operated in Hartford, Connecticut, imports snorkeling
| equipment manufactured in China. 4M claims that, because of the spill, snorkeling
equipment sales are down, resulting in lost profits.

4 15. S runs a seafood restaurant in Phoenix, Arizona. Although the seafood it serves 1s not
from the Gulf, S claims that it has lost profits because of general consumer fears about
contaminated seafood caused by the spill.

16, G owns a gas station in Boise, Idaho that sells Oil Co.-brand gasoline. Although G

owns and operates the station as an independent franchise, his station becomes the target

of a boycott by a local environmental group demanding greater corporate accountability.

G claims lost income resulting from the boycott.

17. L runs a catering company based in New York City, which is also the location of Oi!

Co.’s U.S. headquarters. £ claims that a substantial portion of ber profits had previously

come from catering events at Oil Co, headquarters, but that she has lost revenues because

Oil Co. has substantially cut back on catered events in the aftermath of the spill.

Among the significant features of the foregoing “Universe” is its remarkable
vetisimilitude. None of the hypothesized claimants is difficult to imagine; none makes a silly or
far-fetched argument; assuming they can prove what they allege, all of the claimants have
suffered economic losses as a result of the spill. And Professor Goldberg demonstrates that
Congress could conceivably have made all of these claimants eligible: If OPA had been enacted
as it stands except without the “due to” clause in § 2702(b)(2)(E), “it would entail Jiability for all

lost profits and impaired earning capacity resulting from a discharge.” * Moreover, Goldberg

notes, there is a theoretically possible interpretation of the “due to” clause that would also

Goldberg, supra note 2, at 17.

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probably bestow eligibility on the entire “Universe”: If “due to” were to be “read to set a
threshold for economic loss liability that treats the fact of any harm to any property or natural
resources as a trigger for the recovery of economic losses by any claimant,”°* then here again all
of the claimants in Goldberg’s “Universe” would scem to be eligible for recovery.

But neither Goldberg nor I think that the entire “Universe” is eligible. The subsections
below indicate the exclusionary effects of the factual causation interpretation of § 2702(b)(2){E)
and of the Goldberg user-right proposal.

A. Claims Probably Defeated by Section 2702(b)(2)(E)’s Factual Causation Requirement

The factual causation interpretation that seems to emerge naturally from the statute's
language—a but-for connection between spill-produced “injury, destruction, or loss” of property
or natural resources and the claimed-for economic losses—probably entitles the defendant Oil
Co. to a matter-of-law ruling against claimants 16 (the boycotted Boise gas station) and 17 (the
New York caterer). It seems unlikely that the existence of “injury, destruction, or loss” of
resources or property played any causal role in producing these damages. Both the boycott and
the catering cut-back would probably have occurred as a result of the reputational effects of the
spill, regardless of whether the spill had actually produced any “injury, destruction, or loss” of
anything physical.

Claimants 11 through 15—geographically-remote tour boat operator, notional Disney

World, Nevada resort, Connecticut snorkel seller, Arizona restaurant—are also likely losers

3 ig. at 18 (Goldberg’s emphasis).

4 The factual causation interpretation of Section 2702(b)(2)(E) excludes a number of classes of claimants who
would be entitled to recover under either of Professor Goldberg's two imaginary statutes (one without the “due to”
language and one with “due to” defined to mean “accompanied by”), On the other hand, the factual causation
interpretation includes a number of classes of claimants who would be excluded by Professor Goldberg’s proposed
use-right requirement, Hence, it is accurate to call the factual causation interpretation a middle-ofthe-road
viewpoint,

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r the factual causation interpretation of § 2702(b)(2)(E). The factual causation question in
each case would be whether the lost customers would have stayed away if somehow the massive
ugly spill had not yet been shown to have caused the “injury, destruction, or loss” of anything
physical. In some of these cases the claimant might conceivably reach the trier of fact with the
assertion that the spill’s reputation would not alone have sufficed to turh away the customers.
But these all look more like skiitish-customer situations, in which the customer behavior
constituting the economic losses came about by reason of the spill’s ugly reputation without
regard to its actual ugly effects.
B. Claims That Should Succeed Under the Factual Causation Interpretation

Cases | through 10 all involve claimants with highly plausible assertions that the losses
jn question would not have occurred if the spill had caused no “injury, destruction, or loss” of
natural resources or property. Many of these claimants ought to be entitled to a matter-of-Jaw
ruling to that effect. For example, the barge operator in case #5 would probably not have been
prevented from using the waterway if the spill had not polluted the river to the extent necessary
to threaten bird life.
C. Claims Defeated by the Goldberg Interpretation

Professor Goldberg says that his commercial-use-nght ‘doctrine would clearly validate
only claims 1, 3, and 4 (fishermen with polluted fishing grounds, beachfront hotel surrounded by
oil, and the hotel’s employee). Claimant 5 (the barge operator), Goldberg says, has a fairly

good argument but also some probiems:

* See Goldberg, supra note 2, at 40. }1 is not clear how the hotel has a use right, much less the hofel employee.
Professor Goldberg merely asserts that they do, providing no explanation.

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B [the barge owner] is not among those specifically mentioned in legislative history as
entitled to recover.’ Moreover, one could argue that access to navigable waters is a right
generally enjoyed by the public rather than the particular right of persons whose business
happens to require use of navigable waters.°’ That fact ... could distinguish B’s claim

from that of, for example, commercial fishermen who possess a license to catch and sell
fish.

56 Here Professor Goldberg is taking an overly narrow view of the legislative history. OPA’s legislative history is
shot through with general statements indicative of congressional intent to authorize recovery of “a broad class of
damages”(. _ CONG. REC. E842, daily ed. March 16, 1989, statement of Rep. Jones). See also S. Rep. 101-94,
1Olst Cong., lst Sess. 1989, 1990 U.S.C.C.A.N. 722, 1989 WL 22505 at * 12 (“These provisions are intended to
provide compensation for a wide range of injuries and are not so narrowly focused as to prevent victims of an oil
spill from receiving reasonable compensation.”), __ CONG. REC. H7894 (daily ed. Nov. 1, 1989,statement of Rep.
Quillen) (“full, fair, and swift compensation for everyone injured by oilspills;” “residents of States will be fully
compensated for all economic damages”); ___— CONG, REC. H7955 (daily ed. Nov. 2, 1989,statement of Rep. Jones
(“an unlimited amount of recovery from the Federal fund for all those who are injured by an oilspill”); id at H7959
(statement of Rep, Tauzin) (“ensure that all victims are fully compensated”); id. at H7964 {statement of Rep.
Hammerschmidt) (“ensure that all justified claims for compensation are satisfied”); id. at H7969 (statement of Rep.
Dyson) (“assurances that damages arising from spills will be completely compensated”); CONG. Rec. H8140
(daily ed. Nov. 8, 1989) (statement of Rep. Shumway) (“fund is designed to fully compensate all victims”);
CONG. REC, H336 (daily ed, Feb. 7, 1990) (statement of Rep. Carper) (“ensure that those people or those businesses
that are damaged by these spills are fairly and adequately compensated”); ___ CONG. REC. 87753 (daily ed. June 12,
1990) (statement of Sen, Miller) (“ensure the fullest possible compensation of oilspill victims”); CONG, REG.
H6260 (daily ed. Aug. 1, 1990) (Joint Explanatory Statement of the Committee of Conference) (polluters are
“Jointly, severally, and strictly liable for removal costs and for a wide range of damages”).

Classes of claimants specifically mentioned as entitled to protection included not only fishermen and
beachfront hotel owners but also fish “processing plant employees” and “those who work at the companies
depending on the fisheries” (__ ConG. Rec. E1237, daily ed. Apr. 13, 1989,statement of Rep. Miller); “an
employee at a coastal motel” (___ CONG. REC. H7900, daily ed. Nov. 1, 1989,statement of Rep. Jones); “restaurant
operators” (135 CONG. REC. 18263,statement of Rep. Studds); "fishermen and others whose livelihood depended on
the once-pristine waters”) (i H8271, statement of Rep. Slaughter); “local communities and private citizens that
have to live with the oil fouled waters” (id. 7969, Nov. 2, 1989, statement of Rep. Dyson); “poor people in Alaska
who have lost their jobs, their livelihood, their homes, and the beautiful area in which they live” (id. 59863, Aug. 3,
1989, statement of Sen. Metzenbaum); “those who depend on clean waters and coastlines for their livelihood” (id.
$9921, Aug. 3, 1989, statement of Sen. Biden); “shell fishermen and related businesses” (___ CONG. Rec. E2110,
JUNE 22, 1990, statement of Rep. Schneider); “shell fishermen and dealers and processors, ... beach concessionaires,
and so forth” (36 CONG. REC, E2109-10, 1990 WL 85028, daily ed. June 2!, 1990, statement of Rep. Schneider);
“and “bait and tackle store owners” (id., emphasis supplied). The concluding reference to “bait and tackle store ~
owners” presumably includes the ship’s chandler that Professor Goldberg’s proposal would preclude from
economic-loss recovery under OPA. See infra Part VI-D.

37 Here Professor Goldberg seems 10 be suggesting, without directly saying so, that Congress may have wanted to
import limitations from the jurisprudence of public nuisance into the OPA remedy. See, ¢.g., Denise E. Antolini,
‘ Modernizing Public Nuisance: Solving the Paradox of the Special Injury Rule, 28 ECOL, L.Q. 755 (2001); William
L. Prosser, Private Action for Public Nuisance, 52 VA. L. REV. 997 (1966). Reviewing the legislative history of
OPA leaves the sirong impression that Congress could hardly have had any such intention. See, ¢.g., supra note 56.
Nor does Professor Goldberg point to any statutory language that would support bringing limitations from the
common law of public nuisance into OPA,

*® Goldberg, supra note 2, at 40.

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As for the rest of those on his list, Goldberg thinks his commercial! use-right requirement would
probably exclude claimants 6 through 8 (althouga “it could conceivably be appropriate to

interpret OPA generously to permit these claims”*?

) and would certainly exclude claimants 9
through 17,
D. Goldberg Neglects the Ships’ Chandler

Professor Goldberg’s paper does not deal with claimant 2, CH, the ships’ chandler whose
pre-spill livelihood came from servicing and supplying fishing boats. The logic of Goldberg’s
commercial use-right requirement would exclude this man; it is hard to see how the chandler
could plausibly argue that in earning his living in good times he established (in Goldberg’s

terms) a “right to put [the ocean or its fish] to commercial use.”

(Moreover, if somehow CH
could establish that he had a commercial-use-right in the ocean or the fish, then probably so
could CH’s employees and suppliers, whereupon the exclusion power of the use-right tool would
be lost.) Yet the legislative history suggests that Congress pretty clearly wanted to include CH
(see, c.g., the reference to bait and tackle stores in footnote 56), and intuitively CH seems almost
as close to being in the most obviously deserving class of claimants as the fishermen themselves.
Perhaps this is why Professor Goldberg simply left the chandler out of his imagined “Universe.”
By all rights CH ought to prevail but Goldberg’s commercial use-right tool will not allow it—

and if it did it would lose much of its exclusionary power.

VIL A PARTIAL ANALYSIS AND EVALUATION OF
PROFESSOR GOLDBERG’S USE-RIGHT PROPOSAL

~The Goldberg paper purports to find support for the proposed commercial-use-right

requirement in OPA’s language, courts’ treatment of analogous statutes, “the common law

© Id. at 42,

© 7g at 3.

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regimes from which OPA departs, [OPA’s] legislative history, judicial decisions interpreting
OPA, and policy considerations.” We have already seen that the crucial statutory-language
claim is highly dubious.” Now we need to evaluate some of Goldberg’s other putative sources
of support.

A. The Courts’ Treatment of Statutes that are Broadly Analogous to OPA

Professor Goldberg repeatedly proclaims that his use-right proposal does not entail
reading anything into OPA that Congress did not put there. But he seems to give away a big part
of that game by urging in support of his reading of OPA that it is “commonplace” for courts to
read proximate-cause limits into statutory cause-in-fact language.”

The data Goldberg offers in support of his “commonplace” assertion cannot bear the
weight. He first treats two cases that arose under the Comprehensive Environmental Response,
Compensation, and Liability Act (CERCLA).™ Neither case imposed a proximate cause or user-
right limit of the sort that Professor Goldberg contends for in his paper. The relevant CERCLA
provision in both cases was 42 U.S.C. § 9607(a)(4)(C), which provides in pertinent part for the
recovery of “damages for injury to, destruction of, or loss of natural resources ... resulting from
[the] release [of oil or a hazardous substance].” The U.S. Department of the Interior issued a
regulation interpreting that provision to exclude recovery for harm to “biological resources”
when the claimed harm consisted of “biological responses that are caused predominately by

other environmental factors such as disturbance, nutrition, trauma, or weather. The biological

5! Goldberg, supra note 2, at 25.

5° See supra Part V-B.

8 Goldberg, supra note 2, at 20.

* Comprehensive Environmental Response, Compensation, and Liability Act of 1980 and Superfund Amendments

and Reauthorization Act of 1986, codified as amended at 42 U.S.C. §§ 9601-9675 (2002), For Goldberg’s treatment
of the two CERCLA cases, see Goldberg, supra note 2, at 21 & nn, 44-45.

22
_bill, See iuyra Part VID.

response must be a commonly documented response resulting from exposure to oil or hazardous
substances.” In Ohio v. U.S. Dep’t of Interior, the court upheld the validity of the regulation,
noting that the regulation did not address “the causal link between the defendant's acts and the
substance release” but only “the causal link between the substance release and the biological
injuries alleged to have resulted from itr”

United States v. Montrose Chemical Corp. was a cryptic decision ordering CERCLA
plaintiffs to replead and stating that “plaintiffs must show that a defendant’s release of a
hazardous substance was the sole or substantially contributing cause of each alleged injury to
natural resources.”©’ The Montrose court did not cite the regulation but was apparently
paraphrasing it. (In Jn re National Gypsum the court refused to follow the Montrose dictum
because the Montrose court “cited no authority for that proposition.”**)

There is no analysis of any sort in Montrose. In Ohio v. Dep't of Interior the court
discussed CERCLA’s language and particular legislative history at length before concluding that

the regulation was valid.” OPA’s language’ and legislative history are dramatically different

from CERCLA’s.’! Moreover, while there are no federal regulations treating OPA’s economic

© 43 CER. § 11.62¢f)(2)(i).

 gg0 F.2d 432, 471 n. 54 (D.C. Cir, 1989),

* 1994 WL 183147 at * 1 (C.D. Cal. Mareh 29, 1991).

* 1992 WL 426464 at * 5 (Blrtey. ND. Tex. June 24, 1992).

” See 880 F.2d at 469-472,

“OPA explicitly displaces the Robins/Testbank rule (see supra note 41); CERCLA does not.

7 1 ‘ . . . . ’ ‘ . . : *
Indeed, the legislative histories are epposifes in an important sense. An early version of a bill culminating in
CERCLA included a provision that tort law’s normal ‘‘cause in fact or proximate cause” requirements would nor

apply in CERCLA cases; Congress took that out of the bill, 880 F.3d at 471. An early version of a bill culminating

in OPA provided that economic-loss plaintiffs weuld have to prove “proximate cause;” Congress took that out of the

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loss provisions, the Commerce Department (National Oceanic and Atmospheric Administration,
NOAA) has issued regulations on the damages for harm to natural resources made available by
OPA, 33 U.S.C. § 2702(b)(2)(A), and these are markedly more liberal than the Interior
Department’s CERCLA regulations.” And the language of the regulation at stake in Ohio v.
Dep’t of Interior—as well as the language from the court’s opinion quoted two paragraphs
above-—may suggest that the primary issue the court was focused on was factual, not proximate,
causation.”

Professor Goldberg’s other data set ostensibly supporting his claim that courts routinely
read statutory cause-in-fact language to include proximate cause limitations comprises four cases

decided under the Trans-Alaska Pipeline Authorization Act (TAPAA).” The relevant TAPAA

7 The Commerce Department (NOAA) regulations on OPA-provided damages for harm to natural resources are at
15 CLF.R. §§ 990,10-990.66, Section 990.10 declares that OPA’s purpose “is to make the environment and public
whole for injuries to natural resources and services.” Section 990.13 establishes a rebuttable presumption that
damages assessments made by governmental trustees—these are the only proper plaintiffs in cases seeking damages
under 33 U.S.C. § 2702(b)(2)(A)—are correct. Section 990. 14(a)(1) calls for “full restoration.” Section 990.20(a)
supersedes the CERCLA regulations in relevant part, Section 990,25 says that claims for damages io natural
resources can be settled only if the settlement is adequate “to restore, replace, rehabilitate, or acquire the equivalent
of the injured natural resources and services.” Section 990.27 gives the trustees wide latitude on assessment
procedures. Section 990,30 defines injury to mean “an observable or measurable adverse change in a natural
resource or impairment of a natural resource service. Injury may occur directly or indirectly to a natural resource or
service.” Section 990.51 gives the trusiees wide latitude in determining and asséssing the existence and extent of
injury to resources. Section 990.53(c)(2) calls for full compensation for the interim loss of natural resources and
services pending recovery.

NOAA interprets its regulations to “authorize[] recovery of what are known as nonuse or ‘passive’ losses,
ihe value individuals place upon the existence of natural resources, even if they never plan to make active use of
them. In the case of the National Seashore, for example, people who have never used the beach may nevertheless
value its existence. To assess this value, researchers employ 4 survey technique known as ‘contingent valuation,’ in
which they create a hypothetical market and ask people—survey respondents—how much they would pay to
preserve or protect a given resource.” General Bleciric Co. v. U.S. Dep’t of Commerce, 128 F.3d 767. 772 (D.C.
Cir, 1997). The General Electric court held that the availability of “passive value” damages was a valid
interpretation of OPA.

3 CE Fast Texas Theatres, inc. v. Rutledge, 453 S.W. 2d 466, 467 (Tex. 1970) (labeling the question whether
defendant’s conduct was responsible for plaintift’s being struck by a thrown whiskey bottle an issue of “proximate
cause” and the question whether the impact with the bottle produced plaintiff's chronic headaches a “causal
connection” issue), The court explained that il used the term “proximate cause” to mean cause-in-fact. See fd. at
468.

74 Trans-Alaska Pipeline Authorization Act of 1973, codified as amended at 43 U.S.C, §§ 1651-1656 (2000). The
four relevant TAPAA cases are treated in Goldberg, supra note 2, at 21-22 & nn, 47, 48, and 50. In his note 49,

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provision in these cases was 43 U.S.C. § 1653(c)(1)—this provision was repealed as part of the
OPA-enacting legislation’*°—which stated:

Notwithstanding the provisions of any other law, if oi] that has been transported through
the trans-Alaska pipeline is loaded on‘a vessel at the terminal facilities of the pipeline, the
| owner and operator of the vessel (jointly and severally) and the Trans-Alaska Pipeline
Liability Fund ... shall be strictly \jable without regard to fault in accordance with the
provisions of this subsection for all damages, including clean-up costs, sustained by any
person or entity, public or private, including residents of Canada, as the result of
discharges of oil from such vessel,

The court in In re Glacier Bay stated that the “plain language of Section 1653(c) is that aff
provable damages sustained by any person as a result of a TAPS” oil spill are compensable and
are not limited by established maritime law.’”? The court then held that the claims of fish
tenders, fish spotters, fish processors, and other shoreside businesses were valid under the
TAPAA provision. The Glacier Bay case is thus antithetical to Professor Goldberg’s claim that
proximate cause limitations have routinely been read into TAPAA. (Moreover. in upholding the
claims of fish processors and shoreside businesses the case speaks fairly loudly against any sort
of use-right limit). Professor Goldberg states that the Ninth Cireuit “subsequently rejected”
Glacier Bay, but that’s wrong; the Ninth Circuit case be cites did not even mention Glacier Bay,
and the KeyCite citator shows no negative history on Glacier Bay. 8
f Professor Goldberg can find a bit of support in the other three TAPAA cases, but not that

much, The district court in In re Exxon Valdez said in a footnote that the TAPAA Congress “did

Goldberg cites an irrelevant case, Heppner v. Alyeska Pipeline Service Co., 665 F.2d 868 (9th Cir. 1981), which
involved a pipeline construction accident, a car wreck, and a TAPAA provision having nothing to do with oil spilis.

1 .
See PL 101-380, 104 Stat. 484, § 8102/a)(1) (Aug. 18, 1990).
. 76 soa
Vt This is an acronym for Trans-Alaska Pipeline System. See 746 F. Supp. at 1382 & n. 1.
: 7?
In re Glacier Bay, 746 F. Supp. 1379, 1386 (D. Alaska 1990) (emphasis supplied).

78 ‘
proceds negative entries (urn up on the WestLaw KeyCite citaier, but all involved an irrelevant point of federal civil
| & re.

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not abrogate all notions of proximate cause,”’” but whatever such “notions” the court thought
applicable were lenient enough to lead the court to conclude that a dealer in refrigeration units
and a taxidermist had TAPAA claims that should not be dismissed. The district court in Slaven
v. BP America, Inc. cited no authority and provided no reasoning for its statement that, while
“TAPAA does not have a proximate cause requirement,” it “is beyond dispute that .. the
common law requirement of proximate cause is implicitly incorporated.”*” The Slaven court did
not seem to use “the common law requirement of proximate cause” against any TAPAA claimant
in that case, and in fact it explicitly held that “the bright-line rule of Robins is not a necessary
component of the proximate cause concept.” (Here, as with Glacier Bay, the court seemed
averse to Goldberg’s proposed use-right requirement.) In Benefiel v. Exxon Corp.™ the Ninth
Circuit thought that the efforts of California consumers to tie gasoline price increases (imposed
by California refineries) to the Exxon Valdez spill in Alaska were ridiculous; the court claimed
support in TAPAA’s legislative history for the availability of a proximate-cause-based “remote
and derivative” analysis to throw the gasoline-price claims out.”

Summing up the TAPAA cases: They do not seem to help Professor Goldberg very
much, because several of them imply resistance to a use-tight limitation, and none of them used
any kind of proximate cause limitation to defeat any even half-way credible claimant. More
“importantly, they show that TAPAA and OPA are very different with respect to both their

relevant language and their legislative histories. TAPAA included no two-step factual causation

79 in ve Exxon Valdez, 1993 WL 787392 at * 3 n. 15 (D, Alaska Dec. 23, 1993),
% raven y. BP America, Inc., 786 F. Supp. 853, $58 (C.D. Cal. 1992).

8! fd. at 859.

82.959 F.2d 805 (9th Cir, 1992).

83 14 at 807-08.

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requirement of the sort that Congress built into OPA, perhaps thereby inclining the courts to look
outside the statute for needed controls And TAPAA’s legislative history respecting its effect on

the Robins/Testbank rule was equivocal,” whereas OPA’s is crystal clear;®° this meant that the

TAPAA courts might conceivably have been more receptive to some kind of use-right

requirement than would be appropriate under OPA (but the TAPAA courts still resisted it).

It bears emphasis that, even if Professor Goldberg could convince us that there is some
kind of judicial pattern of reading statutory cause-in-fact language to include proximate cause
limitations, and that this pattern should be carried into OPA despite OPA’s seemingly carefully
crafted two-step factual causation requirement, this would still provide no basis at all for the use-
right limitation that is the heart of Goldberg’s argument. *° We saw in Part V-A above that the
OPA Congress intended to rip the Robins/Testbank rule out of the law of OPA cases, root and
branch. The user-right requirement wouid be nothing more (or Jess) than a slightly flabby,

slightly blurry version of Robins/Testbank.

“Tn Benefiel, the court punted on whether Robins/Testhonk was displaced by TAPAA. See 959 F.2d at 807. Andin
Slaven the court said the relevant legislative bistory was “ambiguous.” 786 F. Supp. at 858.

% See supra Part V-A; supra note 56; infra Part VII-B.

* Professor Goldberg seems to acknowledge that the RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR PHYSICAL
AND EMOTIONAL HARM § 29 (2010) sets forth the normal meaning of proximate cause as a “filter” that screens out
‘harms that are s0 haphazardly caused as to not count as the realization of one of the risks that rendered the actor’s
conduct careless,” Goldberg, supra note 2, at 20 n. 41. See also id at 22 n. 49 (explaining that the proximate cause
filter works in strict liability cases by limiting liability to “those harms that amount to the realization of the risks of
the activity that lead the Jaw to regard the activity as appropriately subject to a rule of strict liability.”) This has
been the sophisticated understanding of proximate cause for decades. See, e.g., Union OF Co. v. Oppen, 501 F.2d
958, 568 (9th Cir. 1974) (quoting Dillon v, Legg, 441 P.2d 912 (Cal. 1968) for the proposition that “defendant owes
a duty, in the sense of a potential liability for damages, only with respect to those risks or hazards whose likelihood
made the conduct unreasonably dangerous, and hence negligent, in the first instance.”)

eoee: Professor Goldberg’s use-right requirement does not fit at all well into the tnherently flexible and case-
Rete common-law proximate cause concept, See the opinion of Judge Learned Hand in Sinram v. Pennsylvania
mroxincaty, Bad 767, 77) (2d Cir, 1932) (extolling the inherent flexibility of the common law's: approach to
impractios pose and stating that the only alternative would be “a manual, mythically prolix, and fantastically
(see Gold "). Professor Goldberg’s use-right requirement-—together with his occasional inclinations to abandon it

erg, supra note 2, at 33, 40 & n. 92, 41-42)-—sometimes has the look ofa mythically prolix manual.

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B. OPA’s Legislative History: Nine Key Factors

The Goldberg paper’s shori section treating OPA’s legislative history makes only one
significant point: that members of Congress, the House Conference Report, and a Senate Report
repeatedly. instanced commercial fishermen and beachfront property owners as the most obvious
beneficiaries of Section 27 02(b)(2)(E).*” But we have already seen that the Senate Report also
said the provision was meant to compensate “a wide range of injuries” and that many members
of Congress enumerated a number of other types of beneficiaries, including seafood “dealers and
processors, bait and tackle store owners, beach concessionaires, and so forth.”

Moreover, there are nine features of the legislative history—features that Professor
Goldberg’s paper largely ignores*’—-that, iaken in the aggregate, seem devastating to the
Goldberg interpretation of Section 2702(b\(2\(E). In thinking about these nine features, we
should keep in mind the heart of Professor Goldberg’s paper: It purports to find in the “due to”
clause of Section 2702(b\(2)(E) a “proximate cause” Limit requiring economic loss clairnants
“to prove that they have suffered economic loss because a spill has damaged, destroyed or
otherwise rendered physically unavailable to them property or resources that they have a right to
put to commercial use.””!

First, Section 2702(b)(2)(E) includes no explicit use-right limitation, But section

2702(b)(2)(C) does, it requires a subsistence-use claimant to show that he “uses natural resources

°7 See id, al 33-34,

88 Supra note 56,

® But see infra notes 101 and L!!.
Goldberg, supra note 2, at 20.

Td. at 3.

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Case 2:10-md-02179-CJB-DPC Document 2394-2 Filed 05/17/11 Page 33 of 43

which have been injured, destroyed, or lost.” The first of two powerful statutory-construction
canons set forth in Russello v. United States is this:
Where Congress includes particular language in one section of a statute but omits it in
another section of the same Act, it is generally presumed that Congress acts intentionally
and purposely in the disparate inclusion or exclusion.”

At an otherwise unrelated point in his paper, Professor Goldberg insists that the Russello canon is

pot applicable “where provisions in the same statute are distinctively formulated,” but it is hard

to see how he could so characterize subsections C and E of Section 2702(b\(2). Indeed,

Goldberg explicitly acknowledges that subsections C and E are “counterpart[s].””" It thus seems
obvious that the first Russel/o canon speaks powerfully against reading a use-right limitation into
Section 2702(b)(2)(E).

Second, three of the bills that eventually coalesced to become OPA include explicit use-

right limitations in their economic loss provisions,” As the bills made their way through the

2 464 US, 16, 23 (1983) (cilation and internal quotation marks omitted). See also Hardt v. Reliance Standard Life
Ins. Co., 130 S.Ct. 2149, 2156 (2010) (holding that because 29 U.S.C. § 1132(g)(2) has an explicit “prevailing
party” Simit on court-awarded attorneys’ fees in ERISA cases whereas 29 U.S.C. § 1132(g}(1} does not, reading a
“prevailing party” limit into the latter provision would “inore closely resemble[] inventing a statute than interpreting
one”) (citation and internal quotation marks omitted). Under the Hardt analysis, Professor Goldberg’s reading of a
user-right limit into OPA Section 2702(b)(2)(E) amounts to inventing a statute. ,

* Goldberg, supra nole 2, at 21 n. 42. See also infra at note 10]-102.

™ Goldberg, supra note 2, at 34.

" As introduced by the House Merchant Marine and Fisheries Committee on March 16, 1989, H.R. 1465 provided
in § 102(a)(2)(B)(v) for “Damages equal to the loss of profits or impairment of earning capacity due to the injury,
destruction, or loss of real property, personal property, or natural resources, which shall be recoverable by any
claimant who derives at least 25 percent of his or her earnings from the activities which utilize such property or
natural resources, or, if such activities are seasonal in nature, 25 percent of his or her earnings during ihe applicable
season.” As introduced by the House Public Works and Transporiation Committee on May 11, 1989, H.R. 2325
aie in § 102(a)(3)(D) for “Damages equal to the loss of profits or impairment of earning capacity due te the
, nn tuction, or boss of natural resources, which shall be recoverable by any claimant who derives at least 25
seasonal in ° es or her earnings from the activities which utilize such natural TESOUrCES, OF, if such activities are
(supported "8 ue, 25 per centum of his or her earnings during the applicable season. . On July 27, 1989, H.R, 3027
provided for y 5 ne House Committee on Science, Space, and Technology) was introduced; § 102(a){2){B Cv)
earnings) due 1 ee etal to the loss of profits or impairment of earning capacity (based on prior profits and
damaves. shall ° the Injury, destruction, ot loss of real property, personal property, ot natural resources. Such

@ recaverable by any claimant who derives al least 25 percent of his or her earnings from the

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legislative process, the use-right limitations. were deleted; no explanation has been found.”°
Russello’s second statutory-construction canon is the following:

Where Congress includes limiting language in an earlier version of a bill but deletes it

prior to enactment, it may be presumed that the limitation was not intended.”’
This is a second heavy strike against reading a use-right limitation into Section 2702(b)(2)(E).

Third, OPA’s predecessor legislation included a use-right limit, Title Ili of the Outer
Continental Shelf Lands Act Amendments of 19788 provided for the recovery of pollution-
caused economic-loss damages “due to injury to, or destruction of, real or personal property or
natural resources ... if the claimant derives at least 25 per centum of his earnings from activities
which utilize the property or natural resource.””” OPA repealed these provisions,” replacing
them with Section 2702(b)(2)(E). Here is the third strike against reading a use-right limitation
jnto Section 2702(b){2)(F). It seems very plain that the OPA Congress did not want a use-right
limit,

Fourth, neither Section 2702(a) nor Section 2702(b)(2)(E) includes any mention of

“proximate cause.” But Section 2704(c)\(1}-specifying types of conduct that will expose a

polluter to liability for damages above the OPA damages caps—requires the spill in question to

activilies which utilize such property or natural resources, or, if such activities are seasonal in nature, 25 percent of
his or her earnings during the applicable season.”

YER, Rep. 101-241, Part 1 (to accompany H.R. 3027) was issued on Sept. 13, 1989, showing the use-right
limitation still in that bill, Part 2 of that Report, issued on Sept. 18, 1989, to accompany H.R. 1465, shows the use-
right limitation still in that bill. But on October 13, 1989, H.R. 3394 was introduced and explained as a composite
vill, designed to merge the others. Section 1002(b)(2)(E) of that bill has the language that was enacied as OPA
Seetion 1002((b) (QE), 33 USC. §2 702(b) (2)(E)—tanguage shorn of any version of a use-right requirement.

7 464 U.S. at 23-24,

%8 PL 99-372, Sept. 18, 1978, 92 Stat, 629.

Id, $$ 303(aNM2(E) and 303{b)4).

100 See PL 101-380, § 2004 (Aug. 18, 1999).

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be “proximately caused” by such conduct. This shows that Congress knew how to say
“proximate cause” when it wanted to require that. Here again, the disparate formulation of two
related sections of the same statute calls for the application of the first Russello canon, which
teaches that Congress presumptively meant to require a showing of proximate cause for cap-
breaking purposes but not for the imposition of liability. Applying that presumption here would
make complete sense: Congress evidently decided that polluters deserve the protection of a
proximate cause requirement when being sued for damages above the cap but not for basic
liability-imposing purposes.

Professor Goldberg tries to answer this fourth point with a badly flawed footnote that
completely mischaracterizes the essence of Section 2704(c)\(1). Goldberg erroneously says that
“Section 2704(c)(1) employs the phrase ‘proximately caused’ in specifying the limited
circumstances in which a responsible party can disclaim liability for damages,” ”’ whereas the
section has the completely opposite thrust of specifying conduct that will expose a responsible
party to additional liability above the damages caps. This surprising mistake robs the remainder
of Professor Goldberg’s footnote of intelligibility: When Goldberg says that the first Russello
canon should not apply to the difference between Sections 2702 and 2704 because the two
sections are “formulated in a fundamentally different manner” from one another,” he is talking
about an imaginary Section 2704(c)(1), not the one actually on the books.

Fifth, the second Russello canon—that Congress’s deletion of limiting language ina bill
before enacting the bill justifies presuming that the limitation was not intended-—applies to the

Proximate cause point in much the same way as to the use-right point. Several of the early

101
Goldberg, supra note 2, at 20 n. 42.

sabe.
og Id. at 21 n, 42.

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versions of the bills that became OPA included language requiring parties seeking pollution
damages to show proximate causation.'"> As was true cespecting the use-right language, the
proximate cause language was also deleted as the bills made their way toward passage. |"
Therefore, Russello counsels us to conclude that the OPA Congress did not want to require
claimants seeking economic-loss damages to méet a proximate cause requirement.

Sixth, OPA’s predecessor legislation included an explicit proximate cause limit. Title LI
of the Outer Continental Shelf Lands Act Amendments of 1978! provided for the recovery of
pollution-caused damages that were “proximately caused by the discharge of oil from an
offshore facility or vessel.”!°° OPA repealed this provision, |” replacing it with Section 2702(a).
So here again, the second Russe/io canon calls for the presumption that the OPA Congress did
not intend a proximate cause limit to be read into its economic-loss provisions.

Seventh, all of the House of Representatives bills that coalesced into OPA included

direct-causation requirements. | The bill that passed the House of Representatives included

103 See H.R, 3027, July 27, 1989, § 102(a) G) (limiting recoverable damages to those “which are proximately caused
by” a spill or substantial threat of a spill); H.R. 1465 as presented in H. Rep, 101-242, Part I (Sept. 18, 1989},
§ 102(a)(1) (same).

104 ER, 3394, the composite bill ‘ntroduced on Oct. 3, 1989, included no explicit proximate cause requirement in its.
liability-imposing and economic-loss provisions. Nor did the version of H.R. {465 that passed the House of
Representatives in November, 1989. Nor, of course, does the enacted law.

195 pr 99.372, Sept. 18, 1978, 92 Stat. 629,

96 7g. § 301(45).

1°? See PL 101-380, § 2004 (Aug, 18, 1999).

8 See the March 16, 1989, version of HLR. 1465, § 102(a) (limiting recoverable damages to those “that arise out cf
or directly result from” a spill or substantia! threat of a spill); H.R. 2325 (May 11, 1989), § 102{a) (limiting
recoverable damages to those “that arise out of of directly result from such discharge or threat of discharge”); H.R.
3027 (July 17, 1989), § 102{a)(1) (limiting recoverable removal costs to those “which arise out or directly result

from” a spill or substantial threat of a spill); H.R. 3394 (Oct. 3, 1989), § 1002(a)(1) (limiting recoverable removal
costs and damages to those “that directly result from” a spill or substantial threat of a spill).

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such a limit. But (without any discoverable explanation) the directness requirement was

deleted from the bill that emerged from the House-Senate conference and was signed into law. "18
Here once again the second Russe//o canon requires a strong presumption that the OPA Congress
intended that for purposes of recovering economic-loss damages, the only causation requirement
should be factual causation."

Eighth, OPA’s predecessor legislation included a direct-causation requirement. Title II]
of the Outer Continental Shelf Lands Act Amendments of 1978'”* provided for the recovery of
pollution-related damages “by any person suffering any direct and actual injury proximately
caused by the discharge of oil from an offshore facility or vessel.”!!? OPA repealed this
provision,’ replacing it with Section 2702(a), which contains no “directness” or “proximate
cause” language. Here we have yet another application of the second Russe//o canon.

Ninth, as we saw in Part V-B above, Goldberg’s insistence that the OPA terms
“resultfing] from’ (Section 2702(a)) and “due to” (Section 2702(b)@}(E)) have different
meanings is flatly contradicted by the House Conference Report, which in its provision-by-

provision analysis of the House-passed bill stated: “Subsection (b)(2)(E) provides that any

claimant may recover for loss of profits or impairment of earning capacity resulting from [the

” See HLR, 1465 (Nov, 15, 1989), § 1002(a)(1) (limiting recoverable removal costs and damages to those “that
directly result from” a spill or substantial threat of a spill).

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See H.R. COnr. REP. NO. 101-653 (Aug, 1, 1990) (presenting § 1002(a) of H.R. 1465 as providing for liability

for removal costs and damages “that result from” a spill or substantial threat of a spill. The language is identical to
the enacted Section 2702(a).

MW pp.

that oe Goldberg acknowledges the deletion of the “directness” requirement from the final bill, but he argues

ca 's reading of Section 2702(b)(2)(E)’s “due to clause” as an “explicit[]” limitation going beyond “actual
usation” should trump the Russe/o canon, Goldberg, supra note 2, at 17 n. 36.

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PL 99-372, Sept. 18, 1978, 92 Stat, 629,

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Id. § 301(15).

lid 1
See PL 101-380, § 2004 (Aug. 18, 1990).

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statutory term is “due to”) injury to property or natural resources.”'!> Here we have an
authoritative statement by Congress that “resulting from” and “due to” are synonyms. It is hard

to resist calling this the final nail in the coffin for Goldberg’s use-right reading of subsection

(b)(2)(E).
C. Judicial Decisions Interpreting OPA

Professor Goldberg’s paper presents seven decisions that have involved the OPA

provisions of relevance here. 16 Eeonomic-loss claimants prevailed in four of these, and

Goldberg does not question these results,!'? Dunham-Price Group, LLC. v. Citgo Petroleum
Corp." is especially instructive. An oil spill from Citgo’s refinery into the Calcasieu. River
caused the Coast Guard to order a cemporaty closure of twenty-two miles of the river, which
interfered with the business operations of Dunham’s concrete facility “located several miles

upriver from Citgo’s refinery and upriver from the zone closed by the Coast Guard.”!"? Citgo

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15 BR. Conk. Re. No. 101-653, at 104 (1990).

116 See Goldberg, supra note 2, at 17 n. 36; id. at 34-35.

7 Goldberg discusses these four cases id. at 34-35 & n. 85. In FGDI, LLC v. M/V Lorelay, 193 Fed. Appx. 853,
2006 WL 2351835 (11th Cir, 2006), the operators of a vessel that spilled oil while berthed in the Port of Mobile
conceded liability under OPA. to the operator of a grain elevator that could not use its Joading berth while the area
was being cleaned. As is explained supra note 15, Seffoon and Sekco held that owners of undamaged property (like
claimants who owned no spill-involved property) have causes of actions under Section 2702(b)(2 KE). Dunham-
Price is discussed i the iext immediately following this footnote signal.

At35 & n. 83, Professor Goldberg takes an unwarranted liberty with the Sekco opinion; he claims that in a
passage at 820 F. Supp. 1012 “the court emphasized [that] defendant’s interference with the plaintiff's right io
operate its fundamaged] platform is exactly the sort of snterference-with-use-rights that Section 2702(b)(2)(E)
addresses.” This claim distorts Secko; the cited passage did not address OPA at all but was the Sekco couri’s
tentative recognition that interference with a property owner’s “yiht of use” might properly be viewed as harm Lo a
proprietary interest for purposes of the Robins/Testhank rule. When the Sekco court eventually turned its attention
to OPA, id. at 1014-15, it said the platform owner had no claims under subsections (B) and (C) of Section
2702(b)(2) bui did have a yiable claim under subsection (E) because “Plaintiff alleges that the fsopar M spill caused
a loss of future production revenues. Future earnings derived from drilling on the Outer Continental Shelf constitute
properly, but whether that property be real or personal 18 irrelevant; in either case, plaintiff can recover for loss of
profits, Given the language of subsection (E), the Court cannot say as 2 matter of law that plaintiff has no cause ot

action here.” Jd. at 1015.
18 9010 WL 1285446 (W.D. La. March 31, 2010).

"9 Fd at * 1,

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responded to Dunham’s claim for damages under Section 2702(b)(2)(E) by moving for summary
judgment and making the following argument:

Citgo argues that under [Section 2702(b)(2)(E)], a plaintiff must prove that his injuries

are directly “due to” property damage resulting from an oil discharge. Citgo further

argues that Dunham Price’s damages are due to the closure of the Calcasieu Ship Channel

and not attributable to a physical injury to property or natural resources. 120
Note that Citgo was making a proximate cause/physical injury argument closely resembling
Professor Goldberg’s proposed reading of Section 2702(b)(2)(E). Dunham responded to Citgo’s
argument by directing the court’s attention to Section 2702(b)(2)(E)’s actual language,
“insist{ing] that the statute does not mention or require a direct causal link between a claimant’s
economic losses and damages to property or natural resources,” |?!

The Dunham-Price court accepted Dunham’s statutory-language argument. The court
denied Citgo’s summary judgment motion and expressed its disagreement with Citgo’s
proximate cause argument as follows:

The Calcasieu River meets OPA’s definition of a natural resource [quoting 33

U.S.C. § 2701(20)]. Citgo has admitted that its discharge of oil into the Calcasieu River

polluted a navigable water of the United States and damaged the personal property of

owners along the Calcasieu River. Moreover, the Coast Guard issued a community
advisory, notifying the public of the spill and the subsequent closure of the Calcasieu
River. Dunham Price has submitted evidence demonstrating genuine issues of material
fact, so it will be for the trier of fact to determine whether Dunham Price’s economic

‘losses are due to Citgo’s oil spill. '**

It will be noted that there is nothing particularly remarkable about the facts, arguments, and

Judicial reasoning in Dunham-Price, The remarkable thing about the case is the court’s rejection

of a nearly-identical version of Professor Geldberg’s central argument.

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The Goldberg paper treats three decisions with results adverse to OPA claimants. As
Professor Goldberg comes close to acknowledging,” two of them are pretty clearly wrong. The
widely-criticized'™ decision in In re Cleveland Tankers, Inc. denied recovery to plaintiffs
making claims under Section 2702(b)(2)(E) because they failed to “allege ‘injury, destruction, or
loss’ to their property.”'” This is flatly wrong, as is shown by the provision itself (“recoverable
by any claimant”) and by the language of the House Conference Report quoted supra at notes
39-40, 1°

Gatlin Oil Co. v. United States'*” seems almost as clearly wrong. Gatlin owned seven
above-ground fuel storage tanks that were jammed open by vandals, causing oil to spill into
ditches leading to navigable waters as well as a fire (ignited by the oil’s vapors) that destroyed a
large part of Gatlin’s property. One member of the Fourth Circuit panel agreed with the trial
judge that the fire damage was compensable under OPA Sections 2702(a) and 2702(b)(2)(B)
because (in the language of Section 2702(a)) the fire damage “resultfed| from” the spill

incident.“ But the two-judge Fourth Circuit majority disagreed, holding that the fire damage.

123 See infra notes 126 and 139.

24 See In re Taira Lynn Marine Lid, 444 F.3d 371, 382 (Sth Cir, 2006) (citing Cleveland Tankers as contrary te

~ prevailing views, including the F ifth Circuit’s own, on the meaning of Section 2702(b)(2)(B); Ballard Shipping Co.
v. Beach Shellfish, 32 F.3d 623, 631 n. 6 (ist Cir, 1994) (criticizing Cleveland Tankers for ignoring the fact that
OPA “overtide[s]” the Robins/Testbank rule); Kodiak Island Borough v. Exxon Corp., 991 P.2d 757, 769 n. 75
(Alaska 1999) (criticizing Cleveland Tankers for failing to recognize that OPA provides for the recovery of
economic damages); Francis J. Gonynor, Six Year's Before the Mast: The Evolution of the Oil Pollution Act of I 990,
9 U.S.F, Mar. LJ, 105, 127 (1996) (stating that Cleveland Tankers “interpreted OPA in a novel way”).

25 791 F, Supp. 669, 678 (E.D. Mich. 1992) (emphasis supplied).
1% Goldberg, supra note 2, at 35 n. 81, sites Cleveland Tankers as interpreting OPA Section 2702(b\2)(E) more |
nartowly than Goldberg thinks proper. At 40 n. 92 Professor Goldberg suggests that maybe the Cleveland Tankers
plaintiffs—-who were complaining of the blockage of a channel they used for transporting goods—lost the case
because they did not have licenses to use the waterway.

127 169 F.3d 207 (4th Cir. 1999).

28 See id, at 215 (Niemeyer, J., dissenting, stating that “[tJhe statutory [2702(a)] test-—whether fire damage ‘resulted

from’ the discharge of oil that threatened to pollute navigable waters—was ... satisfied,”).

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was not compensable “because the evidence did not establish that the fire caused the discharge of

gil info navigable waters or posed a substantial threat to do so.”'*? Jt must be respectfully said
L that this reasoning makes no sense, and Professor Goldberg does not pretend that 1 does: Te
; says that the majority’s reasoning was “somewhat obscure[].”?°°

The case that Professor Goldberg makes the most of! is In re Taira Lynn Marine Ltd. 132
but the case does not seem particularly instructive on any of the matters in contention here. The
Taira plaintiffs sought business-interruption and similar economic damages brought about by the
mandatory evacuation of their areas of operation that was necessitated when a barge ran into a
bridge and discharged its cargo-—“a gaseous mixture of propylene/propane’—into the air!
Nothing was spilled into the water or onto the shoreline. Because the OPA damages provisions
are limited to situations in which “oil is discharged, or [there is a] substantial threat of a
discharge of oil, into or upon the navigable waters or adjoiming shorelines or the exclusive
economic zone,”!** Taira was fairly clearly not an OPA case. As was explained by the court in
Dunham-Price, supra at note 118:

: The Fifth Circuit found that OPA claims are limited to damages resulting “from a
discharge of oil or from a substantial threat of a discharge of oil into navigable waters or
the adjacent shoreline. Taira Lynn Marine, 444 F.3d at 383 (quoting Gazslin v. United

: States, 169 F.3d 207, 211 (4th Cir. 1999)). Although OPA did not apply to the discharge
‘i of gaseous cargo, the court considered it applicable for the sake of argument. Id. 185

9 Td at 219,

& 134
if Goldberg, supra note 2, at 17 n. 36.

. oe y3t :
ib See id at 35 n. $1, 40 n. 92,

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; ; 444 F.3d 37] (Sth Cir, 2006).

93 Td at 396.

134 4

33 U.S.C. § 2702(a) (emphasis supplied),

135 1 .
unham-Price, 2010 WL, 1285446 at * 2 n, 6,

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In its “for the sake of argument” discussion of OPA, the Taira court characterized Section
2702(b)(2\(E) as “allowing a plaintiff to recover for economic losses resulting from damage to
another’s property” °° and went on to state that the provision would not afford relief to the
plaintiffs because they “have not raised an issue of fact as to whether their economic losses are
due to damage to [anyone’s] property resulting from the discharge of the gas. The plaintiffs
should have been arguing that the discharge of the gas polluted the air (which OPA includes”
within its expansive definition of “natural resources”'”*) and thus constituted “injury,
destruction, or loss of ... natural resources” within the meaning of Section 2702(b)(2)(E). But if
that point was made, the Fifth Circuit completely ignored it.

Thus, for one looking io Taira for lessons about the meaning of Section 2702(b)(2)(E),
the returns (to borrow an apt Goldberg phrase) seem “vanishingly small.”'?? The court indicated
that OPA did not apply, but that if it did, the part of Section 2702(b)(2)(E) allowing a claimant to
recover economic losses for damage to someone else’s property would not help plaintiffs who
had no evidence that the oil (or oil-based chemical) spill had damaged anyone’s property. The
case is no help at all on the sphere of application of the portion of Section 2702(b)(2\(E)-—surely
the more important portion—providing for economic damages flowing from injury to the

environment.

136 ddd Bi3d at 382.
37 ref at 383,
138 See 33 U.S.C. § 2701 (20).

19 See Goldberg, supra note 2, at 19 (arguing that the probability of an oil spill that causes economic loss but 10
physical damage to anything is “theoretical but vanishingly small”),

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oy “4

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VILL CONCLUSION

The commercial-use-right proposal of the Goldberg paper is at war with OPA’s language
and legislative history. One of the handful of judicial decisions addressing the relevant OPA
provisions has rejected an argument fairly closely resembling the Goldberg proposal. Moreover,
the Goldberg proposal seems somewhat vulnerable to criticism on policy and coherence grounds.
The impressive plausibility of the Goldberg paper stems entirely from the author’s remarkable
analytical and rhetorical skills. If at the end of the day it emerges that a legal craftsman of
Professor Goldberg’s high degree of proficiency cannot sell a conceptual product, it is probably

safe to assume that the product itself is seriously flawed.

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